      Case 3:23-cv-02408-L Document 54 Filed 08/29/24                 Page 1 of 3 PageID 943



                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 GRANTING HANDS LLC,                                §
                                                    §
                   Plaintiff,                       §
                                                    §
 v.                                                 §       Civil Action No. 3:23-cv-02408-L
                                                    §
                                                    §
 RAD EXOTICS LLC, JUSTIN                            §
 SPENCER, and DAVID SIGLER,                         §
                                                    §
                   Defendants.                      §

                                               ORDER



         The Findings, Conclusions, and Recommendation of the United States Magistrate Judge

Rebecca Rutherford (“Report”) (Doc. 53) was entered on July 31, 2024, recommending that the

court grant Defendant Justin Spencer’s (“Mr.Spencer”) Motion to Dismiss pursuant to Federal

Rule of Civil Procedure 9(b) and 12(b)(6) (Doc. 30) in part and allow Plaintiff to amend its

complaint.

         Plaintiff filed this case on October 6, 2023, in the 193rd Judicial District Court of Dallas

County, Texas. (Doc. 2) Plaintiff alleged claims against Defendants for (1) breach of contract; (2)

conversion; (3) fraudulent conveyance; (4) declaratory judgment; (5) fraud; (6) concerted action

to commit conversion and conspiracy to defraud; (7) restitution; and (8) accounting. See Am.

Compl. On October 10, 2023, Plaintiff served Mr. Spencer (Doc. 1). Before Plaintiff served RAD

Exotics and Mr. Sigler, Mr. Spencer removed this action to federal court on October 30, 2023

(Doc. 1).

         Defendant filed the pending Motion to Dismiss on January 25, 2024 (Doc. 30). Mr. Spencer

argues that Plaintiff has failed to allege facts sufficient to state a claim that he is personally liable

Order – Page 1
   Case 3:23-cv-02408-L Document 54 Filed 08/29/24                 Page 2 of 3 PageID 944



for any amounts owing on the loan (Doc. 30). Mr. Spencer argues that Plaintiff has not alleged that

he is a party to the loan documents and that he executed a personal guarantee (Doc. 30). Regarding

Plaintiff’s alter ego theory, Mr. Spencer argues that Plaintiff has failed to allege facts to show

misconduct necessary to pierce RAD Exotics’ corporate veil (Doc. 30). Mr. Spencer further

contends that Plaintiff’s pleadings fail the heightened requirement for fraud under Federal Rule of

Civil Procedure 9(b) (Doc. 30). Plaintiff filed a response, and Mr. Spencer filed a reply.

       The magistrate judge found that Plaintiff plausibly alleges a breach of contract claim

against Defendant (Doc. 53). The magistrate judge also determined that Plaintiff failed to plausibly

allege claims for fraud, fraudulent conveyance, civil conspiracy, concerted action to commit

conversion, declaratory judgment, restitution, unjust enrichment, and an accounting (Doc. 53). The

magistrate judge further determined that Plaintiffs request for declaratory judgment should be

rejected as duplicative.

       Having considered the Complaint, Motion, Report, file, record, and relevant law, the court

determines that the magistrate judge’s findings and conclusions in the Report are correct and

accepts them as those of the court. Accordingly, the court grants Defendant’s Motion to Dismiss

and dismisses without prejudice Plaintiff’s claims for fraud, fraudulent conveyance, civil

conspiracy, concerted action to commit conversion, declaratory judgment, restitution, unjust

enrichment, and an accounting pursuant to Rule 12(b)(6) (Doc. 30.) The court, however, grants

Plaintiff leave to file an amended pleading correcting the deficiencies identified by Magistrate

Judge Rutherford by September 12, 2024. After the amended pleading is filed, no further

amendments will be allowed as to whether a claim has been stated.




Order – Page 2
   Case 3:23-cv-02408-L Document 54 Filed 08/29/24           Page 3 of 3 PageID 945



       It is so ordered this 29th day of August, 2024.



                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




Order – Page 3
